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UNITED sTATEs DISTRICT COURT- Fiif=ii ` _ 55 5'“5 (j
FOR THE " ”`"

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UNITEI) STATES OF AMERICA

 

CR. N0.05-100:44-T - . 55
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VS.

MICHAEL ANTHONY ROGERS

\-r/W\¢I\¢-/\-/

APPLICA'I`ION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attorney’s Office applies to the Court for a Writ to have Michael Anthony Rogers,
now being detained in the Madison County Jail, Jackson, Tennessee, appear before Magistrate Thomas
Anderson on the sit day of ':)'U L\' , 2005 for an Appearanee and for Such other appearances
9 '15 P. J'h .

as this Court may direet.

Respeetful]y submitted this Sth day of July, 2005.

   

 

 

Assistant U. S. Attorney
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Upon consideration of the foregoing App]ication, David Jolley, U.S. Marshal, Western District of
'l`ennessee, Memphis, TN Sheriff/Warden, MadiSOn Courlty Jail, Jackson, Telmessee.

YOU ARE HEREBY COMMANDED to have Miehae] Anthony Rogers appear before

the Magistrate Thonias Anderson at the date and time aforementioned

ENTEREDthiS Q[£‘day of Y“Q* ,20@,( .

T y

UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket shearin co§)l ce
with Rule 55 and!or 32(b) FRCrF on

s D sTRlC COURT -WE TER D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CR-10044 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

